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                          IN THE UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF OREGON

 ESPRIT STEWARD,

                                         Plaintiff,
                                                                               6:21-cv-00185-MK
                         v.

 WELLPATH, LLC,                                                                       JUDGMENT

                                      Defendant.

         As per the parties’ Stipulated Dismissal (ECF No. 11), this action is dismissed with

prejudice pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) and without costs or attorneys’ fees to any

party.

         Pending motions, if any, are denied as moot. All pretrial deadlines, hearings, and any trial

date are stricken.

         Dated this 22nd day of June 2021.

                                                       s/ Mustafa T. Kasubhai
                                                       MUSTAFA T. KASUBHAI (He / Him)
                                                       United States Magistrate Judge
